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                                                       U.S. Department of Justice

                                                       Criminal Division

                                                       Washington, D.C. 20530


VIA ELECTRONIC FILING                                March 26, 2019

The Honorable G. Michael Harvey
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, DC 20001

       Re:     United States v. All Assets Held, et al., No. 1:04-CV-00798 PLF-GMH (D.D.C.)

Dear Magistrate Judge Harvey:

       The United States writes to compel Claimants Alexander Lazarenko, Ekaterina Lazarenko,
and Lecia Lazarenko (the “A/E/L Claimants”) to respond to the United States’ Second Set of
Requests for Production of Documents (“Second Set of Requests”). Furthermore, the United States
requests that the Court allow the United States additional time to depose the A/E/L Claimants
should new documents, not already received in response to written discovery, be provided in
response to the pending requests.

        On February 16, 2018, the United States sent its Second Set of Requests for Production to
the A/E/L claimants. Responses to the same were due on or before March 21, 2018. At the request
of counsel for the A/E/L Claimants, the United States agreed to extend the deadline for a response
multiple times while the parties focused on resolving this matter through mediation. On August 14,
2018, discovery between all parties was stayed for several months while the parties attempted to
draft a settlement agreement. Despite the parties’ efforts, which to date continue, they have been
unable to finalize a settlement agreement. On Feb 20, 2019, the stay on discovery with the A/E/L
claimants was lifted and a new fact discovery deadline of March 29, 2019, imposed. See ECF No.
1121. The United States on February 27, 2019, wrote counsel for the A/E/L Claimants via
electronic mail to “request the completion of your discovery obligations” by March 7, 2019.

         During Ekaterina Lazarenko’s deposition on March 13, 2019, government counsel asked
Ekaterina Lazarenko whether she previously reviewed and provided responses to the government’s
Second Set of Requests. Ms. Lazarenko could not recall whether she had seen or answered the
discovery requests. Lesia Lazarenko’s deposition responses to the questions regarding the second
set of requests for production were equally evasive. Ms. Lazarenko’s counsel, Emily Beckman, was
advised during the depositions that the Government had not received the A/E/L Claimants’ answers
to its discovery requests and was asked to check her files to determine whether responses were ever
provided. Ms. Beckman was asked to respond by Thursday, March 14, 2019; however, no response
was received. On March 19, 2019, in another request, Ms. Beckman was asked again to advise, by
March 21, 2019, of whether responses were sent, and, if not, to provide complete responses by
March 25, 2019. The United States’ additional requests were also ignored and, to date, the A/E/L
Claimants have failed to answer the United States’ Second Set of Requests for Production.

       The A/E/L Claimants’ failure to timely respond to discovery requests is hampering the
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United States’ efforts to litigate this matter. The United States diligently sought discovery from the
A/E/L Claimants before and after the almost year-long stay in discovery. The Second Set of
Requests largely focuses on the A/E/L Claimants’ relationship with companies believed to have
received significant funds traceable to the defendant in rem assets, and their personal receipt and
repeated disbursement of funds traceable to the defendant assets. Depositions of at least two of the
claimants have occurred, and one additional deposition (Alexander Lazarenko) is expected to occur
soon. The United States did not have the benefit of reviewing and using information that should
have been provided in response to the Second Set of Requests during the Ekaterina and Lesia
Lazarenko depositions. During the depositions, the United States attempted to obtain relevant
discovery on topics related to the outstanding requests but received either a litany of non-committal
“I don’t know” or “I don’t recall” answers, or outright refusals to provide an answer on grounds that
such questions were beyond the scope of this Court’s discovery order. The United States is
attempting to obtain the information the A/E/L Claimant’s refuse to provide through subpoena;
however, any response received will now be well after the A/E/L Claimants’ depositions and close
of discovery, leaving the United States without an ability to obtain relevant discovery regarding
assets that it believes are traceable to the defendant in rem assets.

        Based on the A/E/L Claimants’ failure to timely respond to the United States’ Second
Requests, the United States requests this Court enter an Order: 1) compelling the A/E/L Claimants
to fully comply with their discovery obligations and to provide a complete response to the United
States’ Second Set of Requests no later than April 2, 2019, along with a certification that they have
completed the production of responsive documents; and 2) allow the United States to take
additional deposition testimony from Ekaterina Lazarenko, Lesia Lazarenko, and Alexander
Lazarenko, should the A/E/L claimants provide additional responses to the Second Set of Requests
not provided previously in their responses to the Government’s discovery requests.

                                             Respectfully submitted,

                                             /s/ Teresa C. Turner-Jones
                                             Teresa C. Turner-Jones




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